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                                 UNITED STATES DISTRICT COURT
                                  FOR THE DISTRICT OF NEVADA
 2                                                  ***
 3     UNITED STATES OF AMERICA,                )
                                                )
 4                  Plaintiff,                  )
                                                )
 5     vs.                                      )              2:12-CR-63-PMP-CWH
                                                )
 6     MELISSA HACK,                            )
                                                )
 7                  Defendant.                  )
 8                                             ORDER
 9           IT IS ORDERED that Defendant Melissa Hack’s Motion for Contact Visitation with
10     her Infant Son [105] is GRANTED and that Defendant Melissa Hack’s contact visit with her
11     16 month old son, Killian, shall be conducted in accord with the time, place and security
12     conditions determined to be necessary by the Office of the United States Marshal and the
13     Warden of the Nevada Southern Detention Center.
14           Dated: March 18, 2013.
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                                         PHILIP M. PRO, UNITED STATES DISTRICT JUDGE
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